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             Employee, Volunteer and Intern
              Policy and Procedure Manual




THIS MANUAL AND THE POLICIES CONTAINED
HEREIN WERE LAST REVIEWED AND UPDATED
February 2020 January 2019


_____________________________________
EXECUTIVE DIRECTOR


_____________________________________
PRESIDENT, BOARD OF DIRECTORS




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Drug and Alcohol Use Prohibited: No employee of          shall unlawfully manufacture,
distribute, dispense, possess or use a substance deemed an illegal drug or controlled dangerous
substance under the laws of any state or the United States of America. No employee shall use
alcohol within the workplace or use it outside of the workplace in any manner affecting the
workplace, and no employee shall misuse a legal drug (i.e., in violation of its prescription or
other applicable medical directions) in the workplace or outside the workplace in a manner
affecting the workplace.

Any employee who violates that prohibition shall be deemed guilty of conduct detrimental to
      and shall be subject to appropriate disciplinary action, including, but not limited to
termination. Compliance with the policy is a condition of employment by

POSSESSION OF FIREARMS AND WEAPONS

Firearms and weapons are prohibited on          property.

CONFLICT RESOLUTION
Whenever a number of people work together, personal problems or differences will
occasionally arise. Normally, these concerns can be resolved informally within each
department. The first step toward a solution to a problem is a frank and early discussion with
your immediate supervisor. You and your supervisor may also call upon the Executive Director
for counsel and assistance.

      wishes to resolve differences of opinion, disputes, or controversies concerning any aspect
of services or the application of its policies or procedures and employment practices. The
Executive Director shall be informed of situations that may become detrimental to good
personnel relations.

Personnel with complaints or concerns are encouraged to communicate these verbally or in
writing to their supervisors. The supervisor will endeavor to address the concerns or
complaints.

If the issue cannot be resolved, the supervisor or person complaining notifies the Executive
Director, or the President of the Board of Directors, stating the problem or action alleged and
the date the supervisor was notified.

Allegations include but are not exclusive to discrimination, harassment, retaliation, internal
theft, violence, unsafe acts, and all other forms of workplace wrongdoing.

No employee will be subjected to any type of retaliation or reprisal for filing a grievance and
such grievances will be kept confidential to the extent practicable and otherwise consistent
with      policies.

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RULES OF CONDUCT
In the interest of safety for all concerned, the following rules of conduct apply to all employees,
volunteers and interns. Commission of any of the following offenses will result in discipline up
to and including termination of employment. The following list is included for illustration only,
and is not intended to be an exclusive statement of the grounds for discipline or discharge.
    1. Possession of firearms or other weapons on            premises
    2. Possession of, or being under the influence of alcohol, drugs or other mind-altering
        substances while on          premises, or in      business
    3. Falsification of the employee’s activity record, including completing that of another
        employee or allowing another employee to complete one’s own activity record
    4. Failure to comply with safety standards
    5. Fighting or other disorderly conduct on          premises
    6. Theft, stealing, or unauthorized use of         funds, equipment, or property
    7. Insubordination, including failure to comply with a supervisor’s direction and work
        assignments
    8. Dishonestly, including falsification of employment application or other         documents
    9. Gambling on          premises
    10. Deliberate or intentional breach of confidentiality rules

Progressive Disciplinary Action

      generally follows a progressive discipline policy when the nature of the infraction is not so
serious as to require termination and the employee can reasonably be expected to improve
satisfactorily as a result of the lesser discipline. However,    reserves the right to take any
action it deems prudent under the circumstances, in its sole judgement.

Progressive disciplinary actions may include, but are not limited to, any of the following four
steps: (1) verbal counseling sessions; (2) letter of written; (3) suspension with or without pay,
job reassignment, or final warning; and (4) termination of employment. There may be
circumstances when one or more steps are bypassed. Certain types of employee problems may
be serious enough or as problematic as to justify either a suspension, or, in extreme situations,
termination of employment without going through the usual progressive discipline steps.

If an employee disagrees with the disciplinary action, the employee may take the necessary
steps to appeal the supervisor’s decision as outline in the Grievance Procedure section.



LEAVE POLICIES
JURY DUTY

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I n or d er f or s o m e o n e t o b e s h elt er e d i n o ur f a cilit y t h e y m ust f all wit hi n t h e f oll o wi n g crit eri a:

1. T h e cli e nt m ust r e p ort t h at t h e y ar e a vi cti m of d o m esti c vi ol e n c e, s e x u al ass a ult, st al ki n g or h u m a n
tr affi c ki n g a n d p er c ei v e a n i m m e di at e t hr e at of h ar m or d a n g er a n d/ or

2. T h e y ar e s e e ki n g s er vi c es f or t h eir c hil dr e n wit h t h e s a m e crit eri a

P oli c y R e g ar di n g E xit I nt er vi e ws wit h Cli e nts                                                                                                     F or m att e d: F o nt: 1 8 pt, B ol d


                                                                         will r e q u est t h e e xit i nt er vi e ws b e c o m pl et e d wit h all
a d ult cli e nts w h o l e a v e t h e s h elt er.

 T h e s h elt er a d v o c at e will off er t o c o m pl et e a s h elt er e xit i nt er vi e w f or m wit h a d ult cli e nts w h o l e a v e
s h elt er. T h e c o m pl eti o n of E xit I nt er vi e w will b e o pti o n al f or t h e cli e nt, b ut all cli e nts ar e t o b e
e n c o ur a g e d t o c o m pl et e o n e.

 If t h e cli e nt r e p orts s o m et hi n g si g nifi c a nt – eit h er p o siti v e or n e g ati v e, t his i nf or m ati o n s h o ul d b e
s h ar e d i m m e di at el y wit h t h e S h elt er M a n a g er a n d/ or E x e c uti v e Dir e ct or.

 E xit i nt er vi e w f or ms t h at ar e c o m pl et e d will b e r e vi e w e d b y t h e S h elt er M a n a g er a n d/ or E x e c uti v e
Dir e ct or t o i m pr o v e s er vi c es t o vi cti ms s er v e d i n t h e s h elt er.

P oli c y R e g ar di n g F oll o w- U p wit h Cli e nts                                                                                                            F or m att e d: F o nt: 1 8 pt, B ol d


                                                                         a d h er es t o t h e f oll o wi n g pr o c e d ur e i n r e g ar d t o f oll o w- u p
wit h cli e nt s w h o h a v e st o p p e d s e e ki n g s er vi c es:

                                                                          d o es n ot f or m all y f oll o w- u p wit h cli e nts w h o l e a v e
s er vi c es f or f e ar of j e o p ar di zi n g cli e nt s af et y.

                                                                         r e c o g niz es t h er e m a y b e fri e n ds or f a mil y m e m b ers
w h o m a y r e q u est st aff c o nt a ct t h e cli e nt f or c o nti n u e d f e ar f or t h e cli e nt. A g ai n, t h e st aff will n ot
f oll o w- u p wit h t h e cli e nt b ut will e n c o ur a g e t h e f a mil y m e m b er or fri e n d t o c o nt a ct t h e l o c al l a w
e nf or c e m e nt if t h e y f e el t h eir c o n c er n ris es t o t h at l e v el.

                                                                           will e n c o ur a g e f a mil y a n d fri e n d s t o h a v e t h e vi cti m
c o nt a ct         a g ai n if t h e y f e el t h e cli e nt is i n n e e d of f urt h er s er vi c es.

P oli c y R e g ar di n g Vi cti ms’ Ri g hts:                                                                                                                      F or m att e d: F o nt: 1 8 pt, B ol d


Vi cti ms h a v e t h e ri g ht t o m a k e t h eir o w n d e cisi o ns, t o r et ai n t h e r es p o nsi bilit y of t h eir c hil dr e n, a n d t o
b e fr e e fr o m vi ol e nt b e h a vi or.




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T h es e b asi s ri g hts, al o n g wit h t h e ri g ht t o c o nfi d e nti alit y, a n d t h e f oll o wi n g s h elt er r e q uir e m e nts will b e
p ost e d i nsi d e t h e s h elt er. A d diti o n all y, all cli e nts, a s p art of t h eir i nt a k e p a p er w or k i nt o s h elt er, will si g n
a n d a c k n o wl e d gi n g t h at t h e y h a v e r e a d a n d u n d erst a n d t h es e ri g ht s a n d r es p o n si biliti es:

 N o al c o h ol/ dr u gs/ w e a p o ns: F or t h e s af et y of all c o m m u nit y m e m b ers, a n d t o st a y c o m pli a nt wit h
f a mil y pr ot e cti o n s er vi c e b o ar d r e g ul ati o ns     is a n al c o h ol/ dr u gs/ w e a p o n fr e e c o m m u nit y.

 M ut u al R es p e ct: T hi s i s f or p e o pl e w h o h a v e e x p eri e n c e d i nt er p ers o n al vi ol e n c e. T h e o v er all g o al f or
t h e s h elt er is t o cr e at e a s af e s p a c e t h at pr o m ot es h e ali n g, e m p o w er m e nt, a n d i n d e p e n d e n c e. T o
cr e at e t h at s af e s p a c e, r esi d e nts m ust pr a cti c e m ut u al r es p e ct a n d c o m pr o mis e.

 C o nfi d e nti alit y: St aff will n e v er r el e as e y o ur i nf or m ati o n wit h o ut y o ur e x pr ess e d, writt e n c o ns e nt. I n
or d er t o k e e p e v er y o n e s af e, all r esi d e nts ar e a s k e d t o pr ot e ct t h e l o c ati o n of t h e s h elt er a n d t h e
i d e ntit y of r esi d e nts. If y o u n e e d t o m e et wit h fri e n ds a n d f a mil y, pl e as e m e et at a l o c ati o n o ut si d e of
t h e s h elt er or p ar ki n g ar e a.

 A ns w eri n g t h e fr o nt d o or: A 2 4 h o urs i nt er c o m a n d m o nit ori n g s yst e m m a n a g e d b y st aff e ns ur es t h e
s af et y of e v er y o n e i n s h elt er. I n t h e e v e nt t h at st aff ar e u n a bl e t o a ns w er t h e d o or, pl e as e d o n ot
a ns w er t h e d o or f or a n y o n e.

 T el e p h o n e: T h er e is a t el e p h o n e a v ail a bl e d o w nst airs i n t h e l a u n dr y r o o m a n d u pst airs i n t h e r esi d e nt
w or k s p a c e. I n or d er t o pr ot e ct c o nfi d e nti alit y, w e will n ot c o nfir m y o ur r esi d e n c y, b ut w e will l e a v e a
n ot e o n y o ur d o or l etti n g y o u k n o w y o u h a v e a m ess a g e.

 H o us e h ol d r es p o nsi biliti es: I n or d er t o k e e p t h e c o m m u nit y f u n cti o ni n g at it s b est, all r esi d e nts
p arti ci p at e i n s h ar e d c h or e s. A c h or e c h art c a n b e f o u n d o n t h e r efri g er at or, a n d li sts w e e kl y a n d d ail y
c h or es f or r esi d e nt s.

 F o o d:           utiliz es a st a n d ar d gr o c er y list, a n d st o c ks t h e kit c h e n wit h t h os e it e ms w e e kl y. F o o d t h at
is a v ail a bl e t o a n y o n e is l a b el e d “          R esi d e nts ar e e n c o ur a g e d t o s a v e t h eir m o n e y a n d f o o d st a m ps
f or f ut ur e us e. If f o o d i s p ur c h as es b y r esi d e nt, it m ust b e cl e arl y l a b el e d wit h i niti als a n d d at e. Pl e as e
st or e all f o o d i n t h e kit c h e n.

 T o b a c c o pr o d u cts: All t o b a c c o or t o b a c c o pr o d u cts m ust b e utiliz e d o utsi d e of t h e s h elt er. T h er e i s a
d esi g n at e d ar e a o n t h e b a c k p or c h.

P oli c y R e g ar di n g t h e A c k n o wl e d g e m e nt of D o n ors                                                                                      F or m att e d: F o nt: 1 8 pt, B ol d


I n a c c or d a n c e wit h f e d er al g ui d eli n es r el ati n g t o                                                                   5 0 1( c)( 3)
st at us, d o n ors d o n ati n g $ 2 5 0 i n c as h will r e c ei v e a writt e n a c k n o wl e d g e m e nt fr o m


 All d o n ors m a ki n g a c as h d o n ati o n t o t h e a g e n c y will r e c ei v e a writt e n a c k n o wl e d g e m e nt of t h eir
d o n ati o n.


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